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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA

                 Plaintiff,

         v.                                                Case No. 02-cr-40053-JPG

 ROBERT MARK DURHAM,

                 Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Robert Mark Durham’s Motion

Pursuant to Rule 41(g) Rules of Criminal Procedure (Doc. 523). Durham contends that certain

financial accounts forfeited as substitute assets in support of a $500,000 monetary forfeiture

judgment entered against him in on November 5, 2004 (Doc. 383) are exempt from forfeiture.

Durham did not argue that any of the funds were exempt at the time the Court ordered the

forfeiture; however, he raised the argument on direct appeal. United States v. Durham, 149

Fed.Appx. 533 (7th Cir. 2005) (not reported). The Seventh Circuit held that this Court did not

err in ordering the forfeiture of the accounts. Id.

       A criminal forfeiture is part of the criminal sentence. Young v. United States, 489 F.3d

313, 315 (7th Cir.2007). Therefore, any challenge to the forfeiture must proceed on appeal in the

same manner as a challenge to any other component of a criminal sentence. Id. Here, Durham

raised the issue on appeal, and it was rejected. Although labeled as a Motion under Rule 41(g),

Durham’s motion is actually “an improper attempt to challenge a component of his sentence.”

Id. As a general rule, “a district court’s jurisdiction to alter a judgment of conviction after

sentencing is extremely limited,” and a motion under 41(g) does not fit into one of the

recognized exceptions to that general rule. Id. at 316. Therefore, the Court is without
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jurisdiction to hear Durham’s motion. See id. at 316 (modifying the judgment of the district

court to reflect a dismissal for lack of subject matter jurisdiction.) Accordingly, the Court

DISMISSES Durham’s Motion (Doc. 523) for lack of subject matter jurisdiction .


IT IS SO ORDERED.
DATED: March 14, 2008
                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE




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